 

Case 1:18-cv-02581-GBD-DCF Document 119

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

a ad xX
MOLLY COHEN, :

Plaintiff,

ORDER
-against-
18 Civ. 2581 (GBD)

INTEGRATED PROJECT DELIVERY PARTNERS
INC., et al.,

Defendants.
a a xX

GEORGE B. DANIELS, United States District Judge:

The trial is adjourned from November 9, 2020 to April 19, 2021 at 9:45 am. The pretrial
conference is adjourned from October 28, 2020 to March 17, 2021 at 9:45 am.
Dated: New York, New York

October 19, 2020
SO ORDERED.

harap, A. Dorel

RGE JB. DANIELS
United States District Judge

 

 

 
